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                      IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

 IN RE:
 APPLICATION OF HORNBEAM CORP.
                                                 Case No. 1:14-MC-00424 (VSB)


 __________________________________/

                       NOTICE OF FILING REVISED REDACTED
                       DECLARATION OF CAROL ELDER BRUCE

       Applicant, Hornbeam Corporation, hereby gives notice of filing the Revised Redacted

Declaration of Carol Elder Bruce (“Declaration”). A true and correct copy of the Declaration is

attached hereto as Exhibit “A.”

       Dated: January 28, 2022.
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EXHIBIT “A”
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